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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
JOSEPH MACARTHUR,
JAMIE VILLALOBOS, and
JESUS HERNANDEZ,

Plaintiffs,

vs. Case No: 6:14-cv-2085-Orl-41GJK

US CORRECTIONS LLC

USG7, LLC

ASHLEY JACQUES aka ASH JAQUES, and
STEVEN L. JACQUES,

Defendants.
/

PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS
In accordance with Local Rule 1.04(d), I certify that the instant action:
IS related to the following case: Circuit Court, Orange County, FL, case number

2014-CA-011953-O, which was removed by the Defendants. Otherwise, this case is not

related to any pending or closed civil or criminal case filed with this Court, or any other
Federal or State Court, or administrative agency.

I further certify that I will serve a copy of this NOTICE OF PENDENC OF OTHER
ACTIONS upon each party no later than eleven days after appearance of the party.

 
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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on January 13, 2015, I electronically filed the foregoing
with the Clerk of the Court by using the CM/EFC system which will send a notice of

electronic filing to all counsel of record. ; a)

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